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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

                                                  §
STUDENTS FOR JUSTICE IN                           §
PALESTINE AT THE UNIVERSITY OF                    §
HOUSTON, et al.,                                  §
                                                  §
        Plaintiffs,                               §
                                                  §
v.                                                §                No. 1:24-CV-523-RP
                                                  §
GREG ABBOTT, in his official capacity only as     §
the Governor of the State of Texas, et al.,       §
                                                  §
        Defendants.                               §


                              DECLARATION OF PAUL KITTLE


        I, Paul Kittle, have personal knowledge, or knowledge based on my review of business records
of the University of Houston, of all statements below. I hereby swear, affirm, and attest to the
following:

       1.     My name is Paul Kittle. I am over eighteen years of age, of sound mind and am
otherwise competent to make this Declaration. All of the facts contained herein are within my personal
knowledge and are true and correct.

      2.    I am the Vice Chancellor/Vice President of Student Affairs at the University of
Houston (“UH”). I have been in this role for approximately six months.

        3.     My office handles the campus speech and free expression policies. These policies
provide the rules for what conduct and forms of free expression are permitted on campus. MAPP
01.05.01 (Freedom of Expression), SAM 01.D.15 (Freedom of Expression – System) and 3.01.05
(Posting Flyers on University Kiosks). Some of these include where students are permitted to
congregate, sound limitations, and what protocols are in place for registering events. These policies,
procedures and requirements apply to all Registered Student Organizations (“RSO”) and activities that
are planned on campus, regardless of purpose or subject matter.

        4.      Throughout the Spring of 2024, I had been tracking the activity related to the Israeli-
Palestinian conflict that was taking place on university campuses nationwide, and knew that many
universities were dealing with highly disruptive protests and encampments, and proliferating
antisemitism. I attended a meeting with the Association of Public and Land Grant Universities about

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how best to deal with student encampments to prevent major disruptions to a university’s educational
mission.

      5.       In the Spring of 2024, students began conducting more protests on UH’s campus.
Campus officials track those activities to ensure there are no conflicts with space usage on campus.

        6.       In approximately April 2024, SJP members were in Butler Plaza on UH’s campus
chalking messages on sidewalks. This was a violation of the University’s anti-chalking policies and was
tantamount to graffiti. The University power washed the messages and the students returned the next
day to re-write the messages. After two consecutive days of power washing the messages, the students
stopped.

         7.      On April 17, 2024, I met with members of Students for Justice in Palestine, along with
their faculty advisor, Dr. David McNally, and other members of UH’s administration. The purpose of
the meeting was to discuss how GA-44 would be worked into University policies on our campus and
throughout the UH system. The SJP students raised the issue of chalking. University personnel
reiterated the policy regarding chalking and also stressed that buildings are not all open forums for
free expression.

         8.       On April 25, 2024, UH administrators met with Hillel to understand their concerns.
The University explained that GA-44 would be implemented into freedom of expression and anti-
discrimination policies but that the sentiment is not different from current policies, which already
prohibited disruptions to campus educational functions and extended protections based on national
origin, race, religion, sex, and all other protected categories consistent with state and federal law.

        9.      Between April 22 and April 25, 2024, students organized in the student center. They
wore t-shirts and wrote signs with “Free Palestine” messaging. After students began affixing signs to
the wall, they were asked to take them down because UH’s policies do not permit protest-related signs
inside the Student Center or other campus buildings—regardless of the content or viewpoint being
expressed. The students who were hanging signs were escorted out of the Student Center.

        10.    By April 25, 2024, SJP escalated its protests. Approximately 50-75 students assembled
in the main entrance of the student center with banners and flags. They were shouting and standing
on furniture. Eventually they dispersed.

        11.     On May 8, 2024, I arrived early on campus to find an encampment on the steps of
Butler Plaza, which is outside one of the libraries. Approximately 70 students were organized, as truly
and accurately depicted in the photograph below:




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        12.      Students were told they could not have an encampment due to state laws about
camping on state property. Two students were arrested following a confrontation with UH police. It
was also discovered that students had taken University property to aid in their encampment.
Specifically, the students took wood pallets that are used to transport items across campus and used
them as barricades in Butler Plaza (see below). A Palestinian flag was placed on the makeshift
barricade.

       13.     Attached hereto as Exhibit A (file name IMG_8035) is a true and accurate copy of
video footage showing the encampment at Butler Plaza on May 8, 2024.

       Further declarant sayeth naught



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                                       EXHIBIT A
    Video footage of May 8, 2024 SJP encampment in Butler Plaza at UH, file name IMG_8035
This exhibit constitutes a video recording, a copy of which has been delivered to the Court.
